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    9
                               UNITED STATES DISTRICT COURT
   10
                             CENTRAL DISTRICT OF CALIFORNIA
   11
   12 RICHARD TRUJILLO, individually, and         Case No. 2:19-CV-08370-DSF-MAA
      on behalf of other members of the
   13 general public similarly situated, and as   [Assigned to Hon. Dale S. Fischer]
   14 an aggrieved employee pursuant to the       CLASS AND PAGA
      Private Attorneys General Act               ENFORCEMENT ACTION
   15 (“PAGA”),
                                                  STIPULATED PROTECTIVE
   16                 Plaintiff,                  ORDER
   17         vs.
                                                  Complaint Filed: July 22, 2019
   18 THE CHEFS’ WAREHOUSE WEST                   Removal Date:    September 30, 2019
   19 COAST, LLC, a Delaware limited              Rule 26(f) Conf.: November 21, 2019
      liability company; THE CHEFS’               Scheduling Conf.: February 3, 2020
   20 WAREHOUSE, INC., a Delaware
      corporation; DEL MONTE CAPITOL
   21 MEAT COMPANY, LLC, a Delaware
   22 limited liability company; QZINA
      SPECIALITY FOODS, INC., a
   23 Washington corporation; and/or QZINA
      SPECIALTY FOODS
   24 (AMBASSADOR), INC., a California
      corporation; and DOES 1 through 10,
   25 inclusive,
   26
                    Defendants.
   27
   28

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      THE CHEFS’ WAREHOUSE WEST
    8 COAST, LLC; THE CHEFS’ WAREHOUSE,
      INC.; DEL MONTE CAPITOL MEAT
    9 COMPANY, LLC; QZINA SPECIALTY
      FOODS, INC.; and QZINA SPECIALTY
   10 FOODS (AMBASSADOR), INC.
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   1   1.      A.    PURPOSES AND LIMITATIONS
   2           Discovery activity in this action is likely to involve production of
   3   confidential, proprietary, or private information for which special protection from
   4   public disclosure and from use for any purpose other than prosecuting this
   5   litigation may be warranted. Accordingly, the parties hereby stipulate to and
   6   petition the Court to enter the following Stipulated Protective Order. The parties
   7   acknowledge that this Order does not confer blanket protections on all disclosures
   8   or responses to discovery and that the protection it affords from public disclosure
   9   and use extends only to the limited information or items that are entitled to
  10   confidential treatment under the applicable legal principles. The parties further
  11   acknowledge, as set forth in Section 12.3, below, that this Stipulated Protective
  12   Order does not entitle them to file confidential information under seal; Civil Local
  13   Rule 79-5 sets forth the procedures that must be followed and the standards that
  14   will be applied when a party seeks permission from the court to file material under
  15   seal.
  16           B.    GOOD CAUSE STATEMENT
  17           This action is likely to involve trade secrets, customer and pricing lists and
  18   other valuable research, development, commercial, financial, technical and/or
  19   proprietary information for which special protection from public disclosure and
  20   from use for any purpose other than prosecution of this action is warranted. Such
  21   confidential and proprietary materials and information consist of, among other
  22   things, confidential business or financial information, information regarding
  23   confidential business practices, or other confidential research, development, or
  24   commercial information (including information implicating privacy rights of third
  25   parties), information otherwise generally unavailable to the public, or which may be
  26   privileged or otherwise protected from disclosure under state or federal statutes,
  27   court rules, case decisions, or common law. Accordingly, to expedite the flow of
  28   information, to facilitate the prompt resolution of disputes over confidentiality of

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   1   discovery materials, to adequately protect information the parties are entitled to
   2   keep confidential, to ensure that the parties are permitted reasonable necessary uses
   3   of such material in preparation for and in the conduct of trial, to address their
   4   handling at the end of the litigation, and serve the ends of justice, a protective order
   5   for such information is justified in this matter. It is the intent of the parties that
   6   information will not be designated as confidential for tactical reasons and that
   7   nothing be so designated without a good faith belief that it has been maintained in a
   8   confidential, non-public manner, and there is good cause why it should not be part
   9   of the public record of this case.
  10   2.     DEFINITIONS
  11          2.1    Action: Richard Trujillo v. The Chefs’ Warehouse West Coast, LLC,
  12   et al., United States District Court, Central District of California, Case No. 2:19-
  13   CV-08370-DSF-MAA.
  14          2.2    Challenging Party: a Party or Non-Party that challenges the
  15   designation of information or items under this Order.
  16          2.3    “CONFIDENTIAL” Information or Items: information (regardless of
  17   how it is generated, stored or maintained) or tangible things that qualify for
  18   protection under Federal Rule of Civil Procedure 26(c).
  19          2.4    Counsel (without qualifier): Outside Counsel of Record and House
  20   Counsel (as well as their support staff).
  21          2.5    Designating Party: a Party or Non-Party that designates information
  22   or items that it produces in disclosures or in responses to discovery as
  23   “CONFIDENTIAL.”
  24          2.6    Disclosure or Discovery Material: all items or information, regardless
  25   of the medium or manner in which it is generated, stored, or maintained
  26   (including, among other things, testimony, transcripts, and tangible things), that are
  27   produced or generated in disclosures or responses to discovery in this matter.
  28          2.7    Expert: a person with specialized knowledge or experience in a

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   1   matter pertinent to the litigation who has been retained by a Party or its counsel to
   2   serve as an expert witness or as a consultant in this Action.
   3         2.8     House Counsel: attorneys who are employees of a party to this
   4   Action. House Counsel does not include Outside Counsel of Record or any
   5   other outside counsel.
   6         2.9     Non-Party: any natural person, partnership, corporation, association or
   7   other legal entity not named as a Party to this action.
   8         2.10 Outside Counsel of Record: attorneys who are not employees of a
   9   party to this Action but are retained to represent or advise a party to this Action
  10   and have appeared in this Action on behalf of that party or are affiliated with a law
  11   firm that has appeared on behalf of that party, and includes support staff.
  12         2.11 Party: any party to this Action, including all of its officers,
  13   directors, employees, consultants, retained experts, and Outside Counsel of Record
  14   (and their support staffs).
  15         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  16   Discovery Material in this Action.
  17         2.13 Professional Vendors: persons or entities that provide litigation
  18   support services (e.g., photocopying, videotaping, translating, preparing exhibits
  19   or demonstrations, and organizing, storing, or retrieving data in any form or
  20   medium) and their employees and subcontractors.
  21         2.14 Protected Material: any Disclosure or Discovery Material that is
  22   designated as “CONFIDENTIAL.”
  23         2.15 Receiving Party: a Party that receives Disclosure or Discovery
  24   Material from a Producing Party.
  25   3.    SCOPE
  26         The protections conferred by this Stipulation and Order cover not only
  27   Protected Material (as defined above), but also (1) any information copied or
  28   extracted from Protected Material; (2) all copies, excerpts, summaries, or

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   1   compilations of Protected Material; and (3) any testimony, conversations, or
   2   presentations by Parties or their Counsel that might reveal Protected Material.
   3         Any use of Protected Material at trial shall be governed by the orders of
   4   the trial judge. Any use of Protected Material at trial shall be governed by a
   5   separate agreement or order.
   6   4.    DURATION
   7   Even after final disposition of this litigation, the confidentiality obligations imposed
   8   by this Order shall remain in effect until a Designating Party agrees otherwise in
   9   writing or a court order otherwise directs. Final disposition shall be deemed the
  10   later of (1) dismissal of all claims and defenses in this action, with or without
  11   prejudice; and (2) final judgment herein after the completion and exhaustion of all
  12   appeals, rehearings, remands, trials, or reviews of this action, including the time
  13   limits for filing any motions or applications for extension of time pursuant to
  14   applicable law.
  15   5.    DESIGNATING PROTECTED MATERIAL
  16         5.1     Exercise of Restraint and Care in Designating Material for
  17   Protection. Each Party or Non-Party that designates information or items for
  18   protection under this Order must take care to limit any such designation to
  19   specific material that qualifies under the appropriate standards. The Designating
  20   Party must designate for protection only those parts of material, documents,
  21   items or oral or written communications that qualify so that other portions of the
  22   material, documents, items or communications for which protection is not
  23   warranted are not swept unjustifiably within the ambit of this Order.
  24         Mass, indiscriminate or routinized designations are prohibited. Designations
  25   that are shown to be clearly unjustified or that have been made for an
  26   improper purpose (e.g., to unnecessarily encumber the case development process or
  27   to impose unnecessary expenses and burdens on other parties) may expose the
  28   Designating Party to sanctions.

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   1         If it comes to a Designating Party’s attention that information or items that
   2   it designated for protection do not qualify for protection, that Designating Party
   3   must promptly notify all other Parties that it is withdrawing the inapplicable
   4   designation.
   5         5.2      Manner and Timing of Designations. Except as otherwise provided in
   6   this Order (see, e.g., second paragraph of Section 5.2(a) below), or as
   7   otherwise stipulated or ordered, Disclosure or Discovery Material that qualifies for
   8   protection under this Order must be clearly so designated before the material is
   9   disclosed or produced.
  10         Designation in conformity with this Order requires:
  11                  (a)   for information in documentary form (e.g., paper or electronic
  12   documents, but excluding transcripts of depositions or other pretrial or trial
  13   proceedings), that the Producing Party affix the legend “CONFIDENTIAL”
  14   (hereinafter “CONFIDENTIAL legend”), to each page that contains protected
  15   material. If only a portion of the material on a page qualifies for protection, the
  16   Producing Party also must clearly identify the protected portion(s) (e.g., by
  17   making appropriate markings in the margins).
  18         A Party or Non-Party that makes original documents available for
  19   inspection need not designate them for protection until after the inspecting Party
  20   has indicated which documents it would like copied and produced. During the
  21   inspection and before the designation, all of the material made available for
  22   inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
  23   identified the documents it wants copied and produced, the Producing Party must
  24   determine which documents, or portions thereof, qualify for protection under this
  25   Order. Then, before producing the specified documents, the Producing Party must
  26   affix the “CONFIDENTIAL legend” to each page that contains Protected Material.
  27   If only a portion of the material on a page qualifies for protection, the Producing
  28   Party also must clearly identify the protected portion(s) (e.g., by making

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   1   appropriate markings in the margins).
   2                 (b)    for testimony given in deposition or in other pretrial or trial
   3   proceedings, that the Designating Party identifies all protected testimony on the
   4   record, before the close of the deposition, hearing, or other proceeding.
   5                 (c)    for information produced in some form other than
   6   documentary and for any other tangible items, that the Producing Party affix in a
   7   prominent place on the exterior of the container or containers in which the
   8   information is stored the legend “CONFIDENTIAL.” If only a portion or portions
   9   of the information warrants protection, the Producing Party, to the extent
  10   practicable, shall identify the protected portion(s).
  11         5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
  12   failure to designate qualified information or items does not, standing alone,
  13   waive the Designating Party’s right to secure protection under this Order for such
  14   material. Upon timely correction of a designation, the Receiving Party must make
  15   reasonable efforts to assure that the material is treated in accordance with the
  16   provisions of this Order.
  17   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  18         6.1     Timing of Challenges. Any Party or Non-Party may challenge a
  19   designation of confidentiality at any time. Unless a prompt challenge to a
  20   Designating Party’s confidentiality designation is necessary to avoid foreseeable,
  21   substantial unfairness, unnecessary economic burdens, or a significant disruption or
  22   delay of the litigation, a party does not waive its right to challenge a confidentiality
  23   designation by electing not to mount a challenge promptly after the original
  24   designation is disclosed.
  25         6.2     Meet and Confer. The Challenging Party shall initiate the dispute
  26   resolution process, [which shall comply with Local Rule 37.1 et seq., and with
  27   Section 4 of Judge Audero’s Procedures (“Mandatory Telephonic Conference for
  28

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   1   Discovery Disputes”)1] by providing written notice of each designation it is
   2   challenging and describing the basis for each challenge. To avoid ambiguity as to
   3   whether a challenge has been made, the written notice must recite that the challenge
   4   to confidentiality is being made in accordance with this specific paragraph of the
   5   Protective Order. The parties shall attempt to resolve each challenge in good faith
   6   and must begin the process by conferring directly (preferably in voice to voice
   7   dialogue however other forms of communication will suffice) within 30 days of the
   8   date of service of the notice. In conferring, the Challenging Party must explain the
   9   basis for its belief that the confidentiality designation was not proper.
  10         6.3     The burden of persuasion in any such challenge proceeding shall be
  11   on the Designating Party. Frivolous challenges, and those made for an improper
  12   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  13   parties) may expose the Challenging Party to sanctions. Unless the Designating
  14   Party has waived or withdrawn the confidentiality designation, all parties shall
  15   continue to afford the material in question the level of protection to which it
  16   is entitled under the Producing Party’s designation until the Court rules on the
  17   challenge.
  18
  19   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  20         7.1     Basic Principles. A Receiving Party may use Protected Material that is
  21   disclosed or produced by another Party or by a Non-Party in connection with
  22   this Action only for prosecuting, defending or attempting to settle this Action.
  23   Such Protected Material may be disclosed only to the categories of persons and
  24   under the conditions described in this Order. When the Action has been terminated,
  25   a Receiving Party must comply with the provisions of Section 13 below (FINAL
  26   DISPOSITION).
  27
       1
  28    Judge Audero’s Procedures are available at
       https://www.cacd.uscourts.gov/honorable-maria-audero.
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    1         Protected Material must be stored and maintained by a Receiving Party at
    2   a location and in a secure manner that ensures that access is limited to the
    3   persons authorized under this Order.
    4         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
    5   otherwise ordered by the court or permitted in writing by the Designating Party,
    6   a Receiving Party may disclose any information or item designated
    7   “CONFIDENTIAL” only to:
    8                  (a)   the Receiving Party’s Outside Counsel of Record in this
    9   Action, as well as employees of said Outside Counsel of Record to whom it is
   10   reasonably necessary to disclose the information for this Action;
   11                  (b)   the officers, directors, and employees (including House
   12   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for
   13   this Action;
   14                  (c)   Experts (as defined in this Order) of the Receiving Party to
   15   whom disclosure is reasonably necessary for this Action and who have signed
   16   the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   17                  (d)   the court and its personnel;
   18                  (e)   court reporters and their staff;
   19                  (f)   professional jury or trial consultants, mock jurors, and
   20   Professional Vendors to whom disclosure is reasonably necessary for this Action
   21   and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
   22   A);
   23                  (g)   the author or recipient of a document containing the
   24   information or a custodian or other person who otherwise possessed or knew the
   25   information;
   26                  (h)   during their depositions, witnesses, and attorneys for witnesses,
   27   in the Action to whom disclosure is reasonably necessary provided: (1) the
   28   deposing party requests that the witness sign the form attached as Exhibit 1 hereto;

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    1   and (2) they will not be permitted to keep any confidential information unless they
    2   sign the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless
    3   otherwise agreed by the Designating Party or ordered by the court. Pages of
    4   transcribed deposition testimony or exhibits to depositions that reveal Protected
    5   Material must be separately bound by the court reporter and may not be disclosed
    6   to anyone except as permitted under this Stipulated Protective Order; and
    7                  (i)   any mediator or settlement officer, and their supporting
    8   personnel, mutually agreed upon by any of the parties engaged in settlement
    9   discussions.
   10   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
   11         IN OTHER LITIGATION
   12         If a Party is served with a subpoena or a court order issued in other
   13   litigation that compels disclosure of any information or items designated in this
   14   Action as “CONFIDENTIAL,” that Party must:
   15                  (a)   promptly notify in writing the Designating Party. Such
   16   notification shall include a copy of the subpoena or court order;
   17                  (b)   promptly notify in writing the party who caused the subpoena or
   18   order to issue in the other litigation that some or all of the material covered by the
   19   subpoena or order is subject to this Stipulated Protective Order. Such notification
   20   shall include a copy of this Stipulated Protective Order; and
   21                  (c)   cooperate with respect to all reasonable procedures sought to be
   22   pursued by the Designating Party whose Protected Material may be affected.
   23         If the Designating Party timely seeks a protective order, the Party served
   24   with the subpoena or court order shall not produce any information designated
   25   in this action as “CONFIDENTIAL” before a determination by the court from
   26   which the subpoena or order issued, unless the Party has obtained the
   27   Designating Party’s permission. The Designating Party shall bear the burden
   28   and expense of seeking protection in that court of its confidential material and

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    1   nothing in these provisions should be construed as authorizing or encouraging a
    2   Receiving Party in this Action to disobey a lawful directive from another court.
    3   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    4         PRODUCED IN THIS LITIGATION
    5                  (a)   The terms of this Order are applicable to information
    6   produced by a Non-Party in this Action and designated as “CONFIDENTIAL.”
    7   Such information produced by Non-Parties in connection with this litigation is
    8   protected by the remedies and relief provided by this Order. Nothing in these
    9   provisions should be construed as prohibiting a Non-Party from seeking additional
   10   protections.
   11                  (b)   In the event that a Party is required, by a valid discovery
   12   request, to produce a Non-Party’s confidential information in its possession, and
   13   the Party is subject to an agreement with the Non-Party not to produce the Non-
   14   Party’s confidential information, then the Party shall:
   15                        (1)    promptly notify in writing the Requesting Party and the
   16   Non-Party that some or all of the information requested is subject to a
   17   confidentiality agreement with a Non-Party;
   18                        (2)    promptly provide the Non-Party with a copy of the
   19   Stipulated Protective Order in this Action, the relevant discovery request(s), and a
   20   reasonably specific description of the information requested; and
   21                        (3)    make the information requested available for
   22   inspection by the Non-Party, if requested.
   23                  (c) If the Non-Party fails to seek a protective order from this court
   24   within 14 days of receiving the notice and accompanying information, the
   25   Receiving Party may produce the Non-Party’s confidential information responsive
   26   to the discovery request. If the Non-Party timely seeks a protective order, the
   27   Receiving Party shall not produce any information in its possession or control that
   28   is subject to the confidentiality agreement with the Non-Party before a

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    1   determination by the court. Absent a court order to the contrary, the Non-Party
    2   shall bear the burden and expense of seeking protection in this court of its
    3   Protected Material.
    4   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    5         If a Receiving Party learns that, by inadvertence or otherwise, it has
    6   disclosed Protected Material to any person or in any circumstance not authorized
    7   under this Stipulated Protective Order, the Receiving Party must immediately
    8   (a) notify in writing the Designating Party of the unauthorized disclosures, (b) use
    9   its best efforts to retrieve all unauthorized copies of the Protected Material, (c)
   10   inform the person or persons to whom unauthorized disclosures were made of all
   11   the terms of this Order, and (d) request such person or persons to execute the
   12   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
   13   A.
   14   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   15         PROTECTED MATERIAL
   16         When a Producing Party gives notice to Receiving Parties that certain
   17   inadvertently produced material is subject to a claim of privilege or other
   18   protection, the obligations of the Receiving Parties are those set forth in Federal
   19   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
   20   whatever procedure may be established in an e-discovery order that provides for
   21   production without prior privilege review. Pursuant to Federal Rule of Evidence,
   22   Rule 502(d) and (e), insofar as the parties reach an agreement on the effect of
   23   disclosure of a communication or information covered by the attorney-client
   24   privilege or work product protection, the parties may incorporate their
   25   agreement in the stipulated protective order submitted to the court. Nothing
   26   herein shall diminish or waivethe Parties’ right to request the return or destruction
   27   of inadvertently produced privileged documents or information.
   28   12.   MISCELLANEOUS

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    1         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
    2   person to seek its modification by the Court in the future.
    3         12.2 Right to Assert Other Objections. By stipulating to the entry of this
    4   Stipulated Protective Order, no Party waives any right it otherwise would have
    5   to object to disclosing or producing any information or item on any ground not
    6   addressed in this Stipulated Protective Order. Similarly, no Party waives any
    7   right to object on any ground to use in evidence of any of the material covered by
    8   this Stipulated Protective Order.
    9         12.3 Filing Protected Material. A Party that seeks to file under seal any
   10   Protected Material must comply with Local Civil Rule 79-5. Protected Material
   11   may only be filed under seal pursuant to a court order authorizing the sealing of
   12   the specific Protected Material at issue. If a Party’s request to file Protected
   13   Material under seal is denied by the court, then the Receiving Party may file the
   14   information in the public record unless otherwise instructed by the court.
   15   13.   FINAL DISPOSITION
   16         After the final disposition of this Action, as defined in paragraph 4, within
   17   60 days of a written request by the Designating Party, each Receiving Party must
   18   return all Protected Material to the Producing Party or destroy such material,. As
   19   used in this subdivision, “all Protected Material” includes all copies, abstracts,
   20   compilations, summaries, and any other format reproducing or capturing any of
   21   the Protected Material. Whether the Protected Material is returned or destroyed,
   22   the Receiving Party must submit a written certification to the Producing Party (and,
   23   if not the same person or entity, to the Designating Party) by the 60-day deadline
   24   that (1) identifies (by category, where appropriate) all the Protected Material
   25   that was returned or destroyed and (2) affirms that the Receiving Party has
   26   not retained any copies, abstracts, compilations, summaries or any other format
   27   reproducing or capturing any of the Protected Material. Notwithstanding this
   28   provision, Counsel are entitled to retain an archival copy of all pleadings, motion

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    1   papers, trial, deposition, and hearing transcripts, legal memoranda,
    2   correspondence, deposition and trial exhibits, expert reports, attorney work
    3   product, and consultant and expert work product, even if such materials contain
    4   Protected Material. Any such archival copies that contain or constitute Protected
    5   Material remain subject to this Stipulated Protective Order as set forth in Section
    6   4 (DURATION).
    7   14.   Any violation of this Order may be punished by any and all appropriate
    8   measures including, without limitation, contempt proceedings and/or monetary
    9   sanctions.
   10
   11   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   12
   13   DATED: June 26, 2020                     Capstone Law APC

   14                                       By: /s/ Mark A. Ozzello
                                                Mark A. Ozzello
   15                                           Brandon Brouillette
                                                Brooke W. Waldrop
   16
                                                 Attorneys for Plaintiff Richard Trujillo
   17
   18   DATED: June 26, 2020                     HUNTON ANDREWS KURTH LLP
   19                                       By: /s/ Katherine P. Sandberg
   20                                           Michelle J. Beilke
                                                Julia Y. Trankiem
   21                                           Katherine P. Sandberg
   22                                            Attorneys for Defendants
                                                 THE CHEFS’ WAREHOUSE WEST
   23                                            COAST, LLC; THE CHEFS’
                                                 WAREHOUSE, INC.; DEL MONTE
   24                                            CAPITOL MEAT COMPANY, LLC;
                                                 QZINA SPECIALTY FOODS, INC.; and
   25                                            QZINA SPECIALTY FOODS
                                                 (AMBASSADOR), INC.
   26
   27            Certification of Compliance with C.D. Cal. L.R. 5-4.3.4(a)(2)(i)
   28         Pursuant to Local Rule 5-4.3.4 (a)(2)(i), I, Mark Ozzello, hereby attest that I

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    1   have obtained concurrence in the filing of this document from all other signatories
    2   to this document.
    3         I declare under penalty of perjury under the law of the United States of
    4   America that the foregoing is true and correct. Executed on June 26, 2020, in Los
    5   Angeles, California.                By: /s/ Mark Ozzello
    6                                           Mark Ozzello

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    1                                    ORDER
    2   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
    3
        DATED: 06/30/20                   _______________________________
    4                                     Honorable Maria A. Audero
                                          United States Magistrate Judge
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    1                                        EXHIBIT A
    2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3   I, ____________________________________[print or type full name], of
    4   ___________________ [print or type full address], declare under penalty of perjury
    5   that I have read in its entirety and understand the Stipulated Protective Order that
    6   was issued by the United States District Court for the Central District of California
    7   on [date] in the case of Richard Trujillo v. The Chefs’ Warehouse West Coast, LLC,
    8   et al., United States District Court, Central District of California, Case No. 2:19-
    9   CV-08370-DSF-MAA. I agree to comply with and to be bound by all the terms of
   10   this Stipulated Protective Order and I understand and acknowledge that failure to so
   11   comply could expose me to sanctions and punishment in the nature of contempt. I
   12   solemnly promise that I will not disclose in any manner any information or item that
   13   is subject to this Stipulated Protective Order to any person or entity except in strict
   14   compliance with the provisions of this Order. I further agree to submit to the
   15   jurisdiction of the United States District Court for the Central District of California
   16   for enforcing the terms of this Stipulated Protective Order, even if such enforcement
   17   proceedings occur after termination of this action. I hereby appoint
   18   _____________________ [print or type full name] of
   19   __________________________________________________ [print or type full address and
   20   telephone number] as my California agent for service of process in connection with
   21   this action or any proceedings related to enforcement of this Stipulated Protective
   22   Order.
   23   Date: _____________________________
   24   City and State where sworn and signed: _________________________________
   25   Printed name: __________________________________
   26   Signature: _____________________________________
   27
   28

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